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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


CHARLES VAVRA,                                          Case. No. ________________

            Plaintiff,

     v.                                            JURY TRIAL DEMANDED


HONEYWELL INTELLIGRATED,
INC., a Delaware corporation

            Defendant.


                                    COMPLAINT


       NOW COMES the Plaintiff CHARLES “CHUCK” VAVRA, (“Vavra” or

“Plaintiff”), by and through his undersigned attorneys, and for his Complaint against

Defendant HONEYWELL INTELLIGRATED, INC., (“Honeywell” or “Defendant”),

states and alleges as follows:

                                  INTRODUCTION

       1.     For 13 years, Chuck Vavra did exemplary work as an estimator and

engineer for Honeywell. Honeywell promoted him multiple times, and he received

excellent reviews of his work. Vavra’s final position at Honeywell was as Principal

Engineer, in which he estimated large projects for Honeywell’s key clients. He never

faced any disciplinary action during his time working there—that is, until he objected to

discriminatory and racist employee training imposed on him in 2020 and 2021.
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       2.     In November of 2020 Honeywell announced an “Implicit Bias Training”

initiative, in which all employees would be required to undergo training on the theory of

implicit racial bias. The initial requirement came from Honeywell’s Diversity, Equity

and Inclusion office and created a deadline for completion of the online training of

February 25, 2021.

       3.     Vavra strongly objected to the Implicit Bias Training and the increasingly

hostile racial and intellectual environment emanating from Honeywell’s Management.

Under Honeywell’s policies, Vavra should have been able to voice his objections to the

training because of its discriminatory and racist nature.

       4.     Instead of being protected for voicing his objection and concerns about the

training, Vavra was fired.

       5.     Vavra brings this action for discrimination, reprisal and wrongful discharge

based on Honeywell’s imposition of a discriminatory and racist employee training

program, in contravention of federal and state law as outlined below, and upon Vavra’s

opposition to said training program.

                                         PARTIES

       6.     Vavra is a resident of the State of Illinois within the Northern District of

Illinois, and he currently resides in Bolingbrook, Illinois. Vavra is a former employee of

Honeywell, where he worked most recently as a Principal Application Engineer.

       7.     Honeywell is a Delaware Corporation with its principal place of business

located in Mason, Ohio. Honeywell does business in the State of Illinois. Honeywell is

engaged in the business of material handling automation and related software engineering

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                            JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because the action raises claims involving United States statutes. This Court further has

supplementary jurisdiction over Plaintiff’s state common law claims pursuant to 28

U.S.C. § 1367.

       9.      This Court has personal jurisdiction over Honeywell because it has a

physical presence and does business in the State of Illinois, and it employed Vavra, an

Illinois citizen.

       10.     Venue is proper in the Northern District of Illinois under 42 U.S.C. §

2000e-5(f)(3) and 28 U.S.C. § 1391(e)(1) because the actions Defendant Honeywell

committed took place in the Northern District of Illinois and because Vavra would have

worked in the Northern District of Illinois but for the alleged unlawful employment

practice.

                                   BACKGROUND

       11.     Vavra was hired by Intelligrated Systems, Inc. [“Intelligrated”] in its

Woodridge, Illinois office in July of 2008. When Vavra was first hired, he worked as a

Project Manager, where he served as a liaison with customers during the equipment

manufacturing, design, and implementation of projects. In 2013, Intelligrated promoted

Vavra to Estimating Manager, where he supervised engineers in the design and cost

estimation of distribution systems for customers and provided sales support for the Sales

Department. In or about July of 2016, Intelligrated was acquired by Honeywell, Inc., and

began doing business as Honeywell Intelligrated, a division of Honeywell, Inc.’s Safety

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and Productivity Solutions (“SPS”) division. Vavra’s employment did not change at that

time, but he technically became an employee of Honeywell. In February of 2021 Vavra

was again promoted to Principal Engineer, estimating large projects for Honeywell’s key

clients, with a commensurate raise in compensation. During his employment with both

Intelligrated and Honeywell, Vavra’s performance was exemplary, and he received

excellent performance reviews. Vavra was never subject to any disciplinary or other

negative employment actions during his entire employment from 2008 through February

of 2021.

       12.    In 2020, following the killing of George Floyd in Minneapolis, Minnesota,

Honeywell began a series of communications with its employees laying out the

Company’s theory of race and racial relations. In particular, on September 24, 2020 the

CEO of the SPS Division, John Waldron, sent a company-wide email to all employees

stating, among other things, that:

       Racial bias is real. Don’t kid yourself. Each of us has unconscious bias within
       us. When these biases compound, they can evolve into institutional biases.
       Breaking out of this cycle is critically important for moving society forward.
       Breaking this cycle requires courage – the courage to discuss, the courage to
       admit our bias and to encourage and promote our differences, the courage to
       change.

       Words alone aren’t sufficient. We must take tangible actions to make a
       difference. We have, and we will continue to do so. In SPS, we are committed
       to doubling our efforts on the agenda we have set forth previously which
       includes engaging our Employee Resource Groups (ERG) with another round
       of listening sessions, upping our game when hiring ensuring 100% of the time
       that the interview panel and candidates are diverse, and you can expect to hear
       of other actions we will be taking.




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       13.    In November of 2020 Honeywell announced an “Implicit Bias Training”

initiative, in which all employees would be required to undergo training on the theory of

implicit racial bias. The initial requirement came from Honeywell’s Diversity, Equity

and Inclusion office and created a deadline for completion of the online training of

February 25, 2021.         Vavra objected to this training based on what he felt were

discriminatory, racist and otherwise incorrect and inappropriate components to the

training. Vavra was told by numerous employees that they felt similarly about the

training, but were intimidated by the Company’s statements and felt they could not speak

up about their feelings.

       14.    When Vavra received the email from the Diversity, Equity and Inclusion

office mandating Implicit Bias Training, he was concerned, both because of what he

knew about such training, and other communications from the Company, including the

communication from John Waldron listed above. In particular, Vavra was aware of the

questionable scientific validity of the Implicit Association Test (“IAT”), the basis for

much Implicit Bias Theory.

       15.    Based on his concerns regarding Implicit Bias Theory as well as the

increasingly hostile racial and intellectual environment emanating from Honeywell’s

Management, Vavra was hesitant to take the proposed training. Therefore, he declined to

take the online, self-directed training by the February 25, 2021 deadline. Although Vavra

was concerned about this course of action, he felt he would be protected for voicing his

opinion under the terms of the Company’s anti-retaliation policy, which read as follows:

       HONEYWELL WILL NOT TOLERATE RETALIATION

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       It is important that you feel comfortable raising your questions and
       concerns. Honeywell will not tolerate any form of retaliation against you
       for making a good faith report of actual or potential misconduct. Making a
       report in “good faith” means your report is honest, sincere, and complete to
       the best of your knowledge.

       If you feel an act of retaliation has occurred, you should report your
       concerns via one of the methods outlined in “Asking for Advice and
       Voicing Concerns.”

       16.    In response to Vavra’s failing to take the training, he began to receive a

series of increasingly urgent communications from Company Management reminding,

encouraging, and finally cajoling him into taking the training. In one of such emails, a

Human Resources Representative asked what “barriers” Vavra may have to taking the

training. In response to this apparently rhetorical question, on March 8, 2021, Vavra

wrote a detailed explanation of his concerns regarding the training, in which he explained

his legal objections to the proposed training, as well as his view of the workplace, social,

political and media environment giving rise to the perceived need for the training. Vavra

included the entire September 2020 communication from John Waldron, and provided his

thoughts on that communication.

       17.    The March 8, 2021 email from Vavra to Human Resources Representative

Katie Becker (which he copied to his supervisors), laid out Vavra’s legal objections to the

training, including in part:

       As the CEO of a division of a global company, I’m sure there is no way he
       would ever suggest that all of his black colleagues should somehow feel
       like victims in the Breonna Taylor case just because she was black. I’m
       sure he would never suggest that his colleagues of other races should have
       no feelings about the Breonna Taylor incident because they’re NOT black,
       right? Because that would be kind of … oh, I don’t know … racist and
       discriminatory?

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(Emphasis added.)
      I found the courage to admit to myself that the CEO of SPS was a race-
      baiter. It appeared he was gaslighting his non-white colleagues into
      believing he is some sort of angelic empath that has taken it upon himself to
      be the spokesperson and apologist for all of his white colleague’s and their
      evil ways by implying that we are all somehow tied to the killings of
      Breonna Taylor and George Floyd. He is also implying that all of our non-
      white colleagues should be dumb enough to believe it.

                                          ***

      Perhaps we would be better off focusing on why racism still exists today.

                                          ***

      So let me make this perfectly clear, John Waldron nor anybody else gets to
      tell me I have unconscious bias. Is Mr. Waldron a psychiatrist or a
      psychologist to make that assessment? … He made a ‘conscious’ decision
      to race-bait all of his colleagues by suggesting the Breonna Taylor case was
      racially motivated.
                                          ***
      The most disturbing … and somewhat laughable observation I made in Mr.
      Waldron’s email was the exclusion of an entire race of his colleagues that
      his heart went out to. And I quote, ‘My hands and heart are open to each of
      our Black, Hispanic, Asian and LGBTQ colleagues’. As far as I know,
      Breonna Taylor and George Floyd were both black. They weren’t Hispanic
      and they weren’t Asian. I can’t speak for their sexual preferences because
      the media didn’t sensationalize that aspect of them … only that they were
      black.
(Emphasis in original.)
      18.    Vavra received an email confirmation of the receipt of his email complaint,

but no other substantive communication.        He continued, however, to receive email

requests to complete the implicit bias training. On Friday, March 19, 2021 Vavra was

asked to attend a one-on-one meeting with Chris Maines, Vice-President of Engineering.

During this meeting, Mr. Maines asked Vavra to reconsider and to take the training,

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which he characterized as “one more box to check” and “not a big deal.”               Vavra

responded that it was a big deal to him, and that he believed it raised substantial legal and

moral issues.

       19.      Following the conversation with Mr. Maines, Vavra decided to take the

IAT by logging on to the harvard.edu website, in order ensure that he was fully informed

about the background of the topic and his own stated views of the test. Vavra’s results

from that test indicated that he had a bias in favor of African Americans and against

White Americans. He then took the same test three days later and was told that he did

harbor implicit biases against African Americans. This confirmed to him what he had

previously learned concerning the IAT, in that it is generally considered to be unreliable

and incapable of validation.

       20.      On March 23, 2021 Vavra wrote to Mr. Maines again explaining his

position on Implicit Bias Training, and included the results of his two IAT examinations.

He specifically said, among other things:

       Can John Waldron or the Inclusion and Diversity group prove that everyone
       has “unconscious” bias? I highly doubt it. They call it a vague term like
       “unconscious” bias because they know they can’t prove it and probably
       because they know that it’s absolutely ridiculous. I found John Waldron’s 9/24
       incredibly offensive, discriminatory and racist and I don’t want to be “trained”
       to be someone like that. His email was meant to be offensive as far as I’m
       concerned. I think a more valuable training than “Unconscious Bias” would
       be training on Title VII of the Civil Rights Act.
                                              ***
       John Waldron suggested having the ‘courage to discuss’ [implicit racism] in
       his email. I propose we do it.




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(Emphasis added.) Vavra went on to explain that he did not know the legal definitions

involved, but felt nevertheless that the law was being violated:

       I referenced John Waldron’s discriminatory remarks in his 9/24 email in my
       last letter to HR. I am referencing it again today. I don’t know what would be
       considered an “official” discrimination claim, but both should be considered as
       such.

Vavra never heard back from Mr. Maines.

       21.    In his position as Principal Engineer, Vavra would meet with supervisor

Jeff Cortez on a weekly basis for a “check in” meeting.            On April 7, Mr. Cortez

scheduled such a meeting, although it was not on its usual day. The meeting took place

via Microsoft Teams, and a Human Resources representative Katie Becker also took part.

Mr. Cortez raised the issue of implicit bias training, and Vavra explained the reasons he

did not want to take the training. Mr. Cortez stated that he understood, but that if Mr.

Vavra didn’t take the training “that would be it.” Vavra again stated that he could not, in

good conscience, take the training. Ms. Becker explained that he would therefore be

terminated.

       22.    Honeywell terminated Vavra’s employment.

       23.    Following his termination, Vavra wrote to Ms. Becker asking if he would

be given a written reason for his termination. Consistent with the Company’s Anti-

Retaliation Policy, he further stated “I was hoping that a discrimination claim wouldn’t

have ended with getting terminated, but it’s a different country we’re living in these days.

I wish you all the best and thanks for everything.” (emphasis added). Ms. Becker wrote




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back stating that the Company would not provide any further information regarding the

termination. To this day, no such explanation has been given.

        24.   Also following his termination, Vavra filed a charge with the Equal

Employment and Opportunity Commission (“EEOC”), which charge is attached as

Exhibit 1.

        25.   Vavra then requested a Notice of Right to Sue, and he received a Notice of

Right to Sue on October 19, 2021, which notice is attached as Exhibit 2.

        26.   Vavra has exhausted all administrative requirements prior to bringing this

lawsuit.

                              FIRST CAUSE OF ACTION

                   Racial Discrimination and Retaliation under the
                              Illinois Human Rights Act

        27.   Vavra restates and realleges the preceding paragraphs as if fully set forth

here.

        28.   Defendant Honeywell is an “employer” within the meaning of the Illinois

Human Rights Act, 775 ILST § 5/2-101(B).

        29.   At all times relevant, Vavra was an “employee” of Honeywell within the

meaning of the Illinois Human Rights Act, 775 ILST § 5/2-101(A)(1).

        30.   The Illinois Human Rights Act makes it illegal to retaliate or otherwise

engage in adverse action against an employee for opposing a practice made illegal by the

Act. 775 ILST § 5/6-101(A).




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        31.    When Vavra stated his opposition to what he believed to be racist and

discriminatory statements and actions being taken by the Company, he was disciplined

and then terminated by Honeywell. Honeywell was explicit in its decision to terminate

Vavra specifically because he opposed implicit bias training based on his conclusion that

it was inherently racist. Honeywell’s termination of Vavra was in retaliation for the

substance of his statements concerning racist and racially-provocative statements being

made by Honeywell, its executives and managers, and its employees.

        32.    Because of Honeywell’s illegal conduct, Vavra has suffered economic and

other damages in amounts to be proven at trial, including front pay, back pay, emotional

distress damages, compensatory damages, punitive damages, and attorney fees.

                            SECOND CAUSE OF ACTION

        Racial Discrimination and Retaliation under the Civil Rights Act of 1964

        33.    Vavra restates and realleges the preceding paragraphs as if fully set forth

here.

        34.    At all times relevant, Honeywell employed at least fifteen employees, and

thus was an “employer” for purposes of Title VII of the Civil Rights Act of 1964, 42

U.S.C. § 2000e(b).

        35.    At all times relevant, Vavra was an “employee” within the meaning of Title

VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e(f).

        36.    42 U.S.C. § 2000e-3(a) makes it illegal to retaliate against or otherwise

discriminate against an employee for opposing any practice made unlawful by Title VII

of the Civil Rights Act of 1964.

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        37.   Honeywell’s actions in disciplining and ultimately discharging Vavra

because of his opposition to the opinions being expressed on racial issues at Honeywell

constitutes retaliation, reprisal and discrimination.

        38.   Because of Honeywell’s illegal conduct, Vavra has suffered economic and

other damages in amounts to be proven at trial, including front pay, back pay, emotional

distress damages, compensatory damages, punitive damages, and attorney fees.

                               THIRD CAUSE OF ACTION

                                   Wrongful Termination

        39.   Vavra restates and realleges the preceding paragraphs as if fully set forth

here.

        40.   There exists in Illinois a clear and well-established public policy against

racist policies and practices in employment.

        41.   At the time Vavra was threatened by Honeywell because of his reluctance

to participate in racially-offensive and illegal training, he had a good-faith and well-

established belief that such training, behavior and language was both legally and morally

wrong.

        42.   Because Vavra voiced his opposition to Honeywell’s racially-based

training, language, and culture, and ultimately refused to participate in said training,

language and cultura, he was discriminated against and ultimately terminated from his

employment.

        43.   Honeywell’s actions in disciplining and subsequently terminating Vavra

constitutes retaliation in violation of Illinois Public Policy.

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      44.    As a result of Honeywell’s illegal retaliation against Vavra, Vavra has

suffered and continues to suffer economic and other damages in amounts to be proven at

trial, including front pay, back pay, emotional distress damages, compensatory damages,

punitive damages, and attorney fees.

                                   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Charles Vavra prays for judgment in his favor and

against Defendant Honeywell Intelligrated, and for an Order of the Court as follows:

      1.     Adjudging that Defendant is liable to Plaintiff for his actual damages in an

amount to be proven at trial, including front pay, back pay, treble damages and statutory

penalty, interest, emotional distress and pain and suffering, compensatory damages,

punitive damages, and any damages or penalties available at law;

      2.     Awarding Plaintiff his costs, reasonable attorney fees and any other relief

permitted by statute, after appropriate motion for the same; and

      3.     Awarding such other relief as the Court may deem just and equitable.

Dated: December 23, 2021                         Respectfully submitted,

                                                 Charles Vavra

John W. Mauck                                    By: s/ Whitman H. Brisky
Whitman H. Brisky                                       One of his attorneys
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